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                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION


   JUAN LOZADA-LEONI                             §
                                                 §
   V.                                            §       Civil Action No. 4:20CV68-RWS-CMC
                                                 §
   MONEYGRAM INTERNATIONAL,                      §
   INC., ET AL.                                  §



                                                ORDER


          The Court issues the following sua sponte. Contemporaneously with this Order, the Court

   is entering an ex parte sealed Report and Recommendation regarding proposed findings of fact

   and recommendations on Intervenor Kardell Law Group’s Original Complaint for Attorney’s

   Fees (Docket Entry # 147) and Intervenor Kardell Law Group’s Amended Complaint for

   Attorney’s Fees (Docket Entry # 176). At this time, the Court has sealed the Report and

   Recommendation, even from Defendants.

          A district court must use caution when exercising its discretion to place records under

   seal because there is a “strong presumption that all trial proceedings should be subject to scrutiny

   by the public.” United States v. Holy Land Found. for Relief & Dev., 624 F.3d 685, 690 (5th Cir.

   2010); see also Federal Sav. & Loan Ins. Corp. v. Blain, 808 F.2d 395, 399 (5th Cir. 1987)

   (“The district court’s discretion to seal the record of judicial proceedings is to be exercised

   charily”). Even where no party opposes sealing, the burden is on the movant to establish the

   presumption in favor of public records is overcome.

          Given this presumption, the Court is of the opinion the Report and Recommendation

   should be unsealed. Before doing so, however, the Court will allow Plaintiff and Intervenor


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      fourteen days from the date of entry of this Order in which to submit a proposed publicly-
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      available redacted version of the Report and Recommendation. The parties shall redact only

      those portions of the Report and Recommendation with respect to which Plaintiff and Intervenor

      have a legitimate and overriding interest in maintaining confidentiality and shall be prepared to

      submit a particularized showing regarding those redactions in the event the Court finds it

      necessary.

             The parties shall advise the Court in writing if no redactions are necessary.

             IT IS SO ORDERED.

             SIGNED this 23rd day of June, 2021.




                                                          ____________________________________
                                                          CAROLINE M. CRAVEN
                                                          UNITED STATES MAGISTRATE JUDGE




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